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UNITED STATES DISTRICT COURT |
EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
ERNEST CAWVEY,
Plaintiff, DEMAND FOR JURY TRIAL
Case No. 19-
VS. | Honorable:
THE COUNTY OF MACOMB,

and RHONDA M. POWELL, individually
and in her official capacity,

: Defendants.

 

GASIOREK, MORGAN, GRECO,
McCAULEY & KOTZIAN, P.C.

BY: RAY CAREY (P 33266)

Attorney for Plaintiff

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Farmington Hills, MI 48334
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COMPLAINT AND JURY DEMAND
Plaintiff, ERNEST CAWVEY, by and through his attorneys, GASIOREK,
MORGAN, GRECO, McCAULEY & KOTZIAN, P.C., complains against

Defendants as follows: °

 
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1. This is an action for deprivation of Plaintiffs rights under the United
States Constitution and violation(s) of the Michigan Whistleblowers Protection Act

(hereinafter the “WPA”), MCL §§ 15.361, ef seq., all arising out of Plaintiff's

employment relationship with Defendants.

PARTIES

2. Plaintiff ERNEST CAWVEY (hereinafter “Plaintiff” or “Cawvey”) is
an individual residing the City of Brighton, in Livingston County, State of Michigan.

3. Defendant the COUNTY OF MACOMB (herein after the “Defendant
County”) is a county governmental corporate body duly organized in accordance
with the constitution for the State of Michigan and applicable Michigan statutes and
_ regulations and participates with the State of Michigan in the provision of welfare
and other social services to residents of Macomb County, Michigan.

4, Defendant, RHONDA M. POWELL (hereinafter “Defendant Powell”),
is an individual residing in the County of Macomb, State of Michigan, and who at
all relevant times was and is employed by the Defendant County as its Director of
Health and Community Services and was an agent of Defendant County within the
meaning of MCLA § 15.361 (b).

5. Plaintiff was at all relevant times employed by the Defendant County

as the Director of Macomb Community Action and reported directly to Defendant
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Powell until his employment was abruptly terminated, on and effective March 18,

2019.
JURISDICTION AND VENUE
6. This honorable court ha subject matter jurisdiction over Plaintiff's
constitutional claims pursuant to 28 U.S.C. § 1331 (federal question jurisdiction), 28
| U.S.C. § 1343 (a)(3) Gurisdiction over deprivation of constitutional rights claims),

and 42 U.S.C. § 1983 (deprivations of Plaintiff's rights under the United States

Constitution).

7. This honorable Court also has supplemental jurisdiction over —
Plaintiff's WPA claims pursuant to 28 U.S.C. § 1367.

8. This honorable Court has personal jurisdiction over Defendant
County because it is a governmental corporate body duly organized in
accordance with the constitution for the State of Michigan and applicable
Michigan statutes and regulations.

9. This honorable Court has personal jurisdiction over Defendant
Powell because she resides in and engages in regular and systematic business
and other activities within Macomb County in the state of Michigan.

10. Venue is proper in this district court pursuant to 28 U.S.C. § 1391

(b) and (c) because all parties are located and/or reside within the Eastern District of
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Michigan and the events that gave rise to Plaintiff's claims occurred within the
Eastern District of Michigan. |

11. Venue also is convenient in this judicial district.

GENERAL ALLEGATIONS

12. Plaintiff commenced employment with the Defendant County on or
about September 18, 2017, as Director of Macomb Community Action (“MCA”),

13. Plaintiff's job performance was evaluated as more than satisfactory, if
not exemplary, and he received no substantive discipline or warnings pertaining to

his job performance or conduct throughout his employment with the Defendant

County.

14. Not long after Plaintiff commenced employment with Defendant
County, he told Defendant Powell that he did not deem it appropriate for him to
approve timesheets required to generate payroll for three MCA employees (“the
MCA employees’ timesheets”), its Volunteer Coordinator, Public Information
Manager, and a secretary who were friends of Defendant Powell because he could
not verify whether they actually performed the work to which their timesheets
pertained and because he believed that Defendant Powell or the Director of the
Macomb County Health Department had more knowledge about whether they

actually performed the work to which their timesheets pertained.
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15. Plaintiff could not verify the accuracy of timesheets submitted by the
Volunteer Coordinator because she was not in the office during regular business
hours, she had been attending a college to earn a Bachelor’s degree during normal
County business hours with the permission of Defendant Powell, and she later
attended classes during normal County business hours seeking to obtain a graduate _
degree.

16. Plaintiff could not verify the accuracy of timesheets submitted by the
Public Information Manager because the work she performed was primarily for the

Macomb County Health Department.

17. Plaintiff was genuinely concerned and rightly concluded that the
timesheets should be approved and properly verified by someone with knowledge
about whether the employees actually performed the work to which their timesheets
pertained because the funding for much, if not all, of the revenue included in the
MCA budget to pay the compensation for the three MCA employees was derived
from federal, state, and philanthropic grants; Plaintiff was accountable for ensuring
that MCA funds were expended in accordance with terms and conditions of the
applicable federal, state, and philanthropic grants; and this would ensure that the
employees were properly compensated for actual work time consistent with the
requirements of the applicable federal, state, and philanthropic grants and that they

were not involved in a scheme to embezzle money from the County equivalent to
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any unearned compensation paid to them in violation of the applicable federal, state,
and philanthropic grants.

_18. Plaintiff was genuinely concerned and rightly concluded that the
timesheets should be approved and properly verified by someone with knowledge
about whether the employees actually performed the work to which their timesheets
pertained because this would ensure that the employees were properly compensated
for actual work time and that they were not involved in a scheme to embezzle money
from the County equivalent to any unearned compensation paid to them in violation
of section 174 of the Michigan Penal Code, MCLA § 750.174 and/or other Michigan
statutes.

19. Defendant Powell instructed Plaintiff to approve the timesheets of these
MCA employees anyway and regardless of whether he could verify whether they
actually performed the work to which their timesheets pertained.

20. During the period between mid-2018 and February, 2019, the MCA
finance department manager raised questions and concerns about the accuracy of the
timesheets that had been submitted by the three MCA employees, i.e. those that
Defendant Powell had directed Plaintiff to verify, and he initiated an investigation

to determine whether they actually performed the work to which their timesheets

pertained.

 
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21. Plaintiff had previously told the finance department manager for MCA
that he could not verify the accuracy of the timesheets even though he had approved
the timesheets in accordance with the direction he received from Defendant Powell.

22. Plaintiff notified Defendant Powell that an investigation of the three

MCA employees’ timesheets had been initiated by the MCA finance department

manager.

23. Defendant Powell then directed Plaintiff to instruct the MCA finance
department manager to terminate the investigation ostensibly because he lacked
authority to question or conduct an investigation concerning the MCA employees’

timesheets once these had been approved by Plaintiff.

24. Plaintiff declined to direct the MCA finance department manager to
stop his investigation concerning the MCA employees’ timesheets contrary to what
Defendant Powell had instructed him to do.

25. Plaintiff was later interviewed during and | participated in the
investigation of the MCA employees” timesheets.

26. Plaintiff advised the MCA finance department manager during the
investigation that he told Defendant Powell that he did not deem it appropriate for
him to approve timesheets required to generate payroll for the three MCA employees

because he could not verify whether they actually performed the work to which their

timesheets pertained.

 
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27. Plaintiff advised the MCA finance department manager during the
investigation that he had been instructed to approve the timesheets by Defendant
Powell even though he could not verify the accuracy of the timesheets.

28. Plaintiff advised the MCA finance department manager during the ©
investigation that he could not verify the accuracy of the timesheets even though he
had approved these in accordance with the direction he received from Defendant
Powell.

29. Plaintiff told the MCA finance department manager during the
investigation that he could not verify the accuracy of timesheets submitted by the
- Volunteer Coordinator because she was not in the office during regular County
business hours, she had been attending a college to earn a Bachelor’s degree during
normal County business hours with the permission of Defendant Powell, and she
later attended classes during normal County business hours seeking to obtain a
graduate degree with the permission of Defendant Powell.

30. Plaintiff told the MCA finance department manager | during the
investigation that he could not verify the accuracy of timesheets submitted by the
Public Information Manager because the work she performed was primarily for the

Macomb County Health Department.

 
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31. In February, 2019, one or more of the three MCA employees sent a
letter to Plaintiff with a complaint that the MCA finance department manager’s
investigation of their timesheets had created a toxic work environment.

32. Upon information and belief, Defendant Powell conspired with the.
employee to send the letter as a means to disrupt and thwart the continuing
investigation of the MCA employees’ timesheets.

33.  Plaintiffreferred the matters raised in the letter to the Human Resources
Department of Defendant County for investigation and for advice and counsel about
how to proceed.

34. During the course of the investigation, which occurred between
February and March 18, 2019, the MCA finance department manager was accused’
of having made a racially insensitive remark at a work-related event after normal
business hours approximately 1 year before commencement of the Human Resource
Department investigation of the MCA employees’ complaint.

35. The remark pertained to the hair cut or style of one of the three
complaining MCA employees who is African American and a friend of Defendant
Powell.

36. Inearly March, 2019, the Human Resources Department representative
conducting the human resource related investigation recommended to Plaintiff

during a telephone conference that MCA finance department manager be disciplined
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for the remark attributed to him and Plaintiff effectuated appropriate discipline after

and based on the results of the investigation.

37. During the telephone conference with the Human Resources
Department representative, Plaintiff inquired about the status of MCA finance
department manager’s investigation of the MCA employees’ timesheets, whether it

would continue, and when it was expected to conclude.

38. The Human Resources Department representative and Plaintiff each

separately discussed the outcome of the human resources related investigation with

Defendant Powell.

39. The Human Resources Department representative also told Defendant
Powell that Plaintiff inquired about the status of the MCA finance department
manager’s investigation of the MCA employees’ timesheets, whether it would

continue, and when it was expected to conclude.

40. On March 18, 2019, Defendant Powell and the Human Resources
_ Department representative met with Plaintiff and abruptly notified him that his

employment with Defendant County was terminated, effective that day.

41. Defendant Powell and the Human Resources Department
representative gave no reason for the termination of Plaintiff's employment in

response to an inquiry from Plaintiff about why this action was being taken.

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42. Instead, they essentially stated that there was no need for them to —
articulate a reason for this action because Plaintiff had been employed by Defendant
County “at will.”

43. Defendant Powell directed that Plaintiff's employment with Defendant
County be terminated because he questioned in conversations with Defendant
Powell, the MCA finance department manager, and the Human Resources |
Department representative the propriety of her requirement that he sign the MCA
employees’ timesheets although he could not verify whether they performed the

work to which the time sheets pertained.

44. Defendant Powell directed that Plaintiff's employment with Defendant
County be terminated because he participated in the investigation pertaining to the
MCA employees’ timesheets; inquired about the status of the MCA finance
department manager’s investigation of the MCA employees’ timesheets, whether it
would continue, and when it was expected to conclude; and he would not instruct
the MCA finance department manager to close the investigation of the MCA
employees’ timesheets.

45. Defendant Powell directed that Plaintiff's employment with Defendant
County be terminated because she was concerned that Plaintiff was about to report |

his concerns about violations or suspected violations for the law with respect to the

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MCA employees’ timesheets to higher officials of Defendant County, law

enforcement, and other public bodies as defined in the WPA.

COUNTI
VIOLATION OF 42 U.S.C.A. § 1983 FIRST AMENDMENT
RETALIATION FOR ENGAGING IN PROTECTED ACTIVITY

46.  Plaintiffrealleges and incorporates by reference the allegations set forth
in the preceding paragraphs as if reiterated paragraph by paragraph.

47. Plaintiff enjoys rights under the First Amendment of the United States
Constitution to be free from retaliation by persons acting under color of state law for
engaging in protected free speech, to wit, to speak out and oppose illegal
employment and other practices by a public entity, such as Defendant County and
its officials or employees, including Defendant Powell. -

48. Plaintif? s protected speech opposing illegal employment and other
practices included, among other things, questioning in conversations with Defendant
Powell and others the propriety of her requirement that he sign the MCA employees’
timesheets although he could not verify whether they performed the work to which
the time sheets pertained.

49. Plaintiff's protected speech opposing illegal employment and other
practices included, among other things, participating in the investigation pertaining
to the MCA employees’ timesheets and stating to the MCA finance department

manager that he told Defendant Powell that he did not deem it appropriate for him

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to approve timesheets required to generate payroll for the three MCA employees
because he could not verify whether they actually performed the work to which their
timesheets pertained.

50. Plaintiff's protected speech opposing illegal employment and other
practices included, among other things, participating in the investigation pertaining
to the MCA employees’ timesheets and stating to the MCA finance department
manager that he had been instructed to approve the timesheets by Defendant Powell
even though he told her that he could not verify the accuracy of the timesheets.

51. Plaintiff's protected speech opposing illegal employment and other
practices included, among other things, participating in the investigation pertaining
“to the MCA employees’ timesheets and stating to the MCA finance department —
manager that he could not verify the accuracy of the timesheets even though he had
approved these in accordance with the direction he received from Defendant Powell.

52. Plaintiff's protected speech opposing illegal employment and other
practices included, among other things, participating in the investigation pertaining
to the MCA employees’ timesheets and stating to the MCA finance department
manager that he could not verify the accuracy of timesheets submitted by the
Volunteer Coordinator because she was not in the office during regular business
hours, she had been attending a college to earn a Bachelor’s degree during normal

County business hours with the permission of Defendant Powell, and she later

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attended classes during normal County business hours seeking to obtain a graduate
degree with the permission of Defendant Powell.

53. Plaintiff's protected speech opposing illegal employment and other
practices included, among other things, participating in the investigation pertaining
to the MCA employees’ timesheets and stating to the MCA finance department
manager that he could not verify the accuracy of timesheets submitted by the Public
Information Manager because the work she performed was primarily for the
Macomb County Health Department.

54. Plaintiff’s protected speech opposing illegal employment and other
practices included, among other things, participating in the investigation pertaining
to the MCA employees’ timesheets and refusing to condone what could be
tantamount to theft and/or misappropriation of Macomb County assets, fraudulent
billing and embezzlement to the extent the MCA employees were not performing all
of the work depicted on their timesheets and for which they were compensated.

55. Plaintiff's protected speech opposing illegal employment and other
practices included, among other things, participating in the investigation pertaining
to the MCA employees’ timesheets and refusing to condone what could be
tantamount to fraud against federal, state, and philanthropic sources of MCA ~
revenue; misappropriation of | County, federal, state, and philanthropic funds;

fraudulent billing; and embezzlement of County, federal, state, and philanthropic

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funds to the extent the MCA employees were not performing all of the work depicted
on their timesheets and for which they were compensated or to the extent MCA funds
were not expended in accordance with terms and conditions of the federal, state, and
philanthropic grants and other sources of MCA revenue.

56. Beginning in September, 2017, and continuing through March 18, 2019,
Plaintiff engaged in constitutionally protected speech on a matter of public interest
related to Defendant Powell’s conduct as a public official and employer when he told
Defendant Powell and the MCA finance department manager that he did not deem
it appropriate for him to approve timesheets required to generate payroll for the three
MCA employees, its Volunteer Coordinator, Public Information Manager, and a
secretary, because he could not verify whether they actually performed the work to
which their timesheets pertained and because he believed that Defendant Powell or
the Director of the Macomb County Health Department had more knowledge about
whether they performed the work to which their timesheets pertained.

57. Beginning in February, 2019, and continuing through March 18, 2019,
Plaintiff engaged in constitutionally protected speech on a matter of public interest
related to Defendant Powell’s conduct as a public official and employer when he told
the MCA finance department manager that he could not verify the accuracy of
timesheets submitted by the Volunteer Coordinator because she was not in the office

during normal County business hours, she had been attending a college to earn a

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Bachelor’s degree during normal County business hours with the permission of
Defendant Powell, and she later attended classes during normal County business
hours seeking to obtain a graduate degree with the permission of Defendant Powell
and when he told the MCA finance department manager that he could not verify the
accuracy of timesheets submitted by the Public Information Manager because the
work she performed was primarily for the Macomb County Health Department.

58. Beginning in April, 2019, and continuing through March 18, 2019,
Plaintiff engaged in constitutionally protected speech on a matter of public interest
related to Defendant Powell’s conduct as a public official and employer when he
inquired about the status of the finance department investigation of the MCA |
employees’ timesheets, whether it would continue, and when it was expected to
conclude.

59. On March 18, 2019, Defendant Powell, acting under color of law and
for personal reasons (i.e., based on her personal relationship with the MCA
subordinate employees), retaliated against Plaintiff because of his above referenced
protected speech by terminating Plaintiff's employment with Defendant County as
MCA Director.

60. | Defendants terminated Plaintiff's employment because of or on the

basis of his constitutionally protected speech on a matter of public concern.

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61. Defendants' termination of Plaintiff's employment because of his
constitutionally protected speech abridged his right to freedom of speech in violation
of the First Amendment of the United States Constitution.

62. Asa direct and proximate result of Defendants' wrongdoing, Plaintiff
has sustained loss of earnings, earning capacity, and fringe benefits, and has suffered
emotional distress, humiliation and embarrassment, loss of the enjoyment of the

ordinary pleasures of everyday life, and loss of the ability to pursue employment of

choice. |

COUNT IL |
VIOLATION OF THE MICHIGAN
WHISTLEBLOWERS’ PROTECTION ACT

63. Plaintiffrealleges and incorporates by reference the allegations set forth

in the preceding paragraphs as if reiterated paragraph by paragraph.

64. Plaintiff was an “employee” and Defendants were his “employer” or
“agents” of his employer covered by and within the meaning of the WPA. MCL §§
15.361, et. seq.

65. Beginning in September, 2017, Plaintiff reported suspected violations
of law, regulations, or rules promulgated by the United States, State of Michigan,
and Defendant County that allegedly were committed by the MCA employees with

knowledge and direction of Defendant Powell to a member of a public body, i.e.,

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Defendant Powell, the MCA finance department manager, and a Defendant County
Human Resources Department representative, to wit: Plaintiff reported the
aforementioned suspected fraudulent and other illegal conduct.
66. Beginning in February, 2109, through May 18, 2019, Plaintiff
participated in an investigation by a public body, i.e. the MCA finance department
| within Defendant County and the Defendant County Human Resources Department
about whether the aforementioned suspected fraudulent and other illegal conduct
violated federal, state, and county laws or regulations and standards of practice and
the terms and conditions of federal, state and philanthropic grants or other funding
sources.
67. Defendants retaliated against Plaintiff for reporting or being about to
report the violations or suspected violations of law, regulation or rules of the United
States, Michigan and Macomb County to a member of a public body by terminating

Plaintiff's employment.

68. Defendants retaliated against Plaintiff for his instigation of and
participation in the investigations pertaining to whether the aforementioned
suspected, fraudulent and other illegal conduct violated federal, state, and county
laws or regulations and standards of practice and the terms and conditions of federal,

state and philanthropic grants or other funding sources.

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69. The aforementioned retaliation by Defendants and their agents violated
Plaintiffs rights under the WPA.

70. Defendant Powell directed that the retaliation be taken or imposed
against Plaintiff.

71. Defendants retaliatory actions were intentional, wanton, willful,
malicious, and taken in bad faith, in deliberate disregard of, and with reckless

indifference to Plaintiff's rights and sensibilities.

72. Asa direct and proximate result of Defendants' wrongdoing, Plaintiff
has sustained loss of earnings, earning capacity, and fringe benefits, and has
suffered emotional distress, humiliation and embarrassment, loss of the enjoyment
of the ordinary pleasures of everyday life, and loss of the ability to pursue
employment of choice.

RELIEF REQUESTED
WHEREFORE, Plaintiff Ernest Cawvey respectfully requests that this

Honorable Court grant the following remedies:

a. Declare that the aforementioned practices and actions of Defendants are

unlawful and unconstitutional;

b. Declare that the acts and practices outlined above are in violation of the
WPA;

C. Enjoin and permanently restrain these practices;

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d. Direct Defendants to take such affirmative action as is necessary to ensure
that the effects of these unlawful employment practices are eliminated;
e. Award Plaintiff all lost wages and value of lost employee benefits, past and

future, to which he is entitled;

f. Award Plaintiff compensatory damages for mental anguish, emotional
distress, humiliation and injury to his reputation;

g. Award Plaintiff punitive and/or exemplary damages;

h. Award Plaintiff's reasonable attorney fees and costs, including expert

witness fees; and

i. Grant such other legal or equitable relief as this Court deems appropriate.

DEMAND FOR TRIAL BY JURY
Plaintiff Ernest Cawvey, by his attorneys, GASIOREK, MORGAN, GRECO,

MCCAULEY & KOTZIAN P.C., demands a trial by Jury.

Respectfully submitted,

   

GASIO , MORGAN
MCCAULEY & KOYZI/

BY:

 

(248) 865-0001
rcarey(@gmemklaw.com

Date: June 14, 2019

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